               IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF TENNESSEE
                              AT GREENEVILLE



UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      No. 2:13-CR-076
                                                )
JAMES CARROL HICKMAN                            )

                           MEMORANDUM AND ORDER


             This case is before the court on the defendant’s motion for a continuance of

his December 2, 2014 trial date [doc. 124]. Defense counsel advises that both he and the

prosecuting attorney are scheduled for oral argument before the Sixth Circuit Court of

Appeals on that date. The defendant accordingly requests a two-day continuance.

             The court finds that the ends of justice served by granting the motion

outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §

3161(h)(7)(A). In particular, the court finds that the failure to grant the motion would

unreasonably deny continuity of counsel for both parties. 18 U.S.C. § 3161(h)(7)(B)(iv).

The motion requires a delay in the proceedings. Therefore, all the time from the filing of

the motion to the new trial date is excludable as provided by the Speedy Trial Act. 18

U.S.C. § 3161(h)(7)(A).

             The defendant’s motion [doc. 124] is GRANTED, and this criminal case

is CONTINUED to Thursday, December 4, 2014, at 10:00 a.m. A pretrial hearing in

light of Missouri v. Frye, 132 S. Ct. 1399 (2012), and Laffler v. Cooper, 132 S. Ct. 1376

(2012), is SET for 9:45 a.m. that same day.

     Case 2:13-cr-00076-RLJ-MCLC      Document 125       Filed 11/04/14   Page 1 of 2
                                     PageID #: 267
       IT IS SO ORDERED:


                                       ENTER:



                                             s/ Leon Jordan
                                       United States District Judge




                                   2
Case 2:13-cr-00076-RLJ-MCLC    Document 125     Filed 11/04/14   Page 2 of 2
                              PageID #: 268
